Case 2:23-cv-07296-NJB-KWR                Document 143     Filed 01/26/25      Page 1 of 3




                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                          *
     Plaintiff                             *
                                           *    Case No. 23-cv-7296
VERSUS                                     *
                                           *    Judge Nannette J. Brown
                                           *
MICHAEL WRIGHT, in his individual and      *    Magistrate Judge Karen W.
official capacities, JACLYN HOTARD, in her *    Roby
individual and official capacities; and    *
ST. JOHN THE BAPTIST PARISH;               *
        Defendants.                        *
                                           *
************************************************************************

DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFF’S NOTICE
             OF UNCONTESTED/ STIPULATED FACTS

           NOW INTO COURT, through undersigned counsel, come Defendants, Michael

Wright, in his individual and official capacities, Jaclyn Hotard, in her individual and

official capacities, and St John the Baptist Parish, (hereinafter collectively referred to as

“Defendants”), who files this memorandum in Opposition to Plaintiff, Joy Banner’s,

(hereinafter “Plaintiff”), Notice of Uncontested/Stipulated Facts, specifically due to her

request for this Honorable Court to read to the jury subsection “m” of the “Single Listing

of Uncontested Material Facts” of the Second Amended Joint Pretrial Order, which states,

“In 2014 a federal judge determined that "R.S. 42:1141.4(L)(1) is invalid, both as applied

to these plaintiffs and on its face, at least in part”.1




1
    Rec. Doc. 141, pp. 4., VII (m).

                                           Page 1 of 3
Case 2:23-cv-07296-NJB-KWR                  Document 143         Filed 01/26/25       Page 2 of 3




           The validity of this same law is still at issue in this case AND it is also listed on the

“Single List of Contested Issues of Law” on the same Second Amended Joint Pretrial

Order. 2 Plaintiff is attempting to put the cart before the horse.

           Furthermore, this Honorable Court has already ruled, in a previous order, regarding

the responsibility of interpreting the legality of R.S. 42:1141.4(L)(1) l; this Honorable

Court ruled that it was the COURT’s job to interpret law and then “…ultimately place the

conclusion of law with the jury.”3 Since this Honorable Court has yet to rule on the legality

of R.S. 42:1141.4(L)(1) l, what Plaintiff is now requesting this Honorable Court to do is

improper, in contradiction to this Honorable Court’s previous order, and would impede the

“…role of this Court to instruct the jury on the law.4

           Finally, in addition to the aforementioned, Plaintiff’s request would confuse the

jury, prejudice the Defendants, and ultimately impede the Defendants’ right to a fair trial,

therefore, this Honorable Court should deny Plaintiff’s request to read to the jury

subsection “m” of the “Single Listing of Uncontested Material Facts” of the Second

Amended Joint Pretrial Order, which states, “In 2014 a federal judge determined that "R.S.

42:1141.4(L)(1) is invalid, both as applied to these plaintiffs and on its face, at least in

part”. 5

                                          CONCLUSION

           Based on the aforementioned, the Defendants respectfully request that this

Honorable Court deny the Plaintiff’s request to read jury subsection “m” of the “Single

Listing of Uncontested Material Facts” of the Second Amended Joint Pretrial Order,


2
  Rec. Doc. 141, pp. 5. IX (a) and (b).
3
  Rec. Doc. 115, pp. 4.
4
  Id.
5
  Rec. Doc. 141, pp. 4., VII (m).

                                             Page 2 of 3
Case 2:23-cv-07296-NJB-KWR               Document 143         Filed 01/26/25   Page 3 of 3




which states, “In 2014 a federal judge determined that "R.S. 42:1141.4(L)(1) is invalid,

both as applied to these plaintiffs and on its face, at least in part”.

                                                Respectfully Submitted,

                                                /s/ Ike Spears___________________
                                                IKE SPEARS, LSB #17811
                                                909 Poydras Street, Ste. 1825
                                                New Orleans, LA 70112
                                                Telephone: (504) 593-9500
                                                Telecopier: (504) 523-7766
                                                E-mail:ikespears@gmail.com


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY the foregoing was served on attorney of record William

Most via electronic mail on January, 26 2025.

                              ________/s/ Ike Spears_________
                                         Ike Spears




                                          Page 3 of 3
